                         Case 1:18-cv-11829-FDS Document 1 Filed 08/29/18 Page 1 of 15
 Pro Se I (Rev. 09/16) Complaint for a Civil Case



                                         UNITED STATES DISTRICT COURT
                                                                         for the

                                                              District of Massachusetts


                                                                           )       Case No.
                                                                           )                      (to be filled in by the Clerk's Office)
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                               Plaintijf(s)                                )                                            r'    •        - -        ;:-
                                                                                                                                        -.. ~
 (Write the full name of each plaintiff who is filing this complaint.
 If the names ofall the plaintiffs cannot fit in the space above,
                                                                           )       Jury Trial: (check one)    IZ] Yes-=- E:]No                     J11.

 please write "see attached" in the space and attach an additional         )                                                                       ....--
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                                                                                                                                                    CJ)l 1
 page with the full list of names.)                                        )
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                                                                           )                                                                        m
                                                                           )
                                                                           )
                               Defendant(s)
 (Write the full name of each defendant who is being sued. If the
                                                                           )
 names ofall the defendants cannot fit in the space above, please          )
 write "see attached" in the space and attach an additional page           )
 with the full list of names.)



                                                    COMPLAINT FOR A CML CASE

 I.        The Parties to This Complaint
           A.         The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                                 Name
                                 Street Address
                                 City and County
                                                                        c.. f\€.LSt,a         ,     5J Gfz,l l<..
                                 State and Zip Code                      Mr\ .            O'Z I 50
                                 Telephone Number
                                 E-mail Address


           B.         The Defendant(s)

                      Provide the information below for each defendant named in the complaint, whether the defendant is an
                      individual, a government agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (if known). Attach additional pages if needed.




                                                                                                                                                Page I of 5
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                                                                    Defendants 1


Defendants Attachment

United Stated District Court for the District of Massachusetts

Civil Title IX Complaint

Plaintiff: Francis Henry (Hank) Fay

                                           Defendants

Defendant No. 1
      Massachusetts College of Art and Design
      President Dr. David P. Nelson
      621 Huntington Ave. Suite Tower 1 lFL
      Boston, Suffolk
      Ma. 02115
      617-879-7100
      nelson@massart.edu


Defendant No.2
      Wilson, Courtney
      Title IX Coordinator
      Massachusetts College of Art and Design
      621 Huntington Ave. Suite Kennedy 203
      Boston, Suffolk
      Ma. 02115
      617-879-7751
      cwilson24@massart.edu

Defendant No.3
      Keefe, Maureen
      Vice-President of Student Development
      Massachusetts College of Art and Design
      621 Huntington Ave. Suite Kennedy 230
      Boston, Suffolk
      Ma. 02115
      617-879-7705
      mkeefe@massart.edu
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                                                                   Defendants 2


Defendant No.4
      Buckholtz, Elaine
      Associate Professor
      Massachusetts College of Art and Design
      621 Huntington Ave. Suite North 172
      Boston, Suffolk
      Ma. 02115
      617-879-7475
      ebuckholtzmassart.edu

Defendant No.5
      Moser, Dana
      Professor, Studio for Interrelated Media
      Massachusetts College of Art and Design
      621 Huntington Ave. Suite Tower 720
      Boston, Suffolk
      Ma. 02115
      617-879-7480
      dmoser@massart.edu

Defendant No. 6
      Obando, Juan
      Assistant Professor, Studio for Interrelated Media
      Massachusetts College of Art and Design
      621 Huntington Ave. Suite North 172
      Boston, Suffolk
      Ma. 02115
      617-879-7496
      juan.obando@massart.edu

Defendant No. 7
      Palu-ay, Lyssa
      Provost
      Massachusetts College of Art and Design
      621 Huntington Ave. Suite South 301
      Boston, Suffolk
      Ma. 02115
      617-879-7782
      lpaluay@massart.edu
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                                                                   Defendants 3


Defendant No.8
      Serig, Daniel
      Associate Vice President of Academic Affairs
      Massachusetts College of Art and Design
      621 Huntington Ave. Suite Tower 301
      Boston, Suffolk
      Ma. 02115
      617-879-7549
      dserig@massart.edu

Defendant No.9
      Sturiale, Nita
      Chair, Studio for Interrelated Media
      Massachusetts College of Art and Design
      621 Huntington Ave. Suite North 172
      Boston, Suffolk
      Ma. 02115
      617-879-7481
      nsturiale@massart.edu


Defendant No. I 0
      John Doe #1
      Massachusetts College of Art and Design
      621 Huntington Ave.
      Boston, Suffolk
      Ma. 02115

Defendant No. 11
      John Doe #2
      Massachusetts College of Art and Design
      621 Huntington Ave.
      Boston, Suffolk
      Ma. 02115

Defendant No. 12
      John Doe #3
      Massachusetts College of Art and Design
      621 Huntington Ave.
      Boston, Suffolk
      Ma. 02115
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                                                                   Defendants 4


Defendant No. 13
      JohnDoe#4
      Massachusetts College of Art and Design
      621 Huntington Ave.
      Boston, Suffolk
      Ma. 02115

Defendant No.14
      John Doe #5
      Massachusetts College of Art and Design
      621 Huntington Ave.
      Boston, Suffolk
      Ma. 02115

Defendant No.15
      John Doe #6
      Massachusetts College of Art and Design
      621 Huntington Ave.
      Boston, Suffolk
      Ma. 02115

Defendant No.16
      John Doe #7
      Massachusetts College of Art and Design
      621 Huntington Ave.
      Boston, Suffolk
      Ma. 02115

Defendant No.17
      Jane Doe #1
      Massachusetts College of Art and Design
      621 Huntington Ave.
      Boston, Suffolk
      Ma. 02115

Defendant No.18
      Jane Doe #2
      Massachusetts College of Art and Design
      621 Huntington Ave.
      Boston, Suffolk
      Ma. 02115
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                                                                   Defendants 5


Defendant No.19
      Jane Doe #3
      Massachusetts College of Art and Design
      621 Huntington Ave.
      Boston, Suffolk
      Ma. 02115


Defendant No.20
      Jane Doe#4
      Massachusetts College of Art and Design
      621 Huntington Ave
      Boston, Ma. 02115

Defendant No.21
      Jane Doe #5
      Massachusetts College of Art and Design
      621 Huntington Ave
      Boston, Ma. 02115

Defendant No.22
      Jane Doe #6
      Massachusetts College of Art and Design
      621 Huntington Ave
      Boston, Ma. 02115

Defendant No.23
      Jane Doe #7
      Massachusetts College of Art and Design
      621 Huntington Ave
      Boston, Ma. 02115

Defendant No.24
      Unknown Agency, Organization, or Business # 1
      Boston, Suffolk
      Massachusetts

Defendant No.25
      Unknown Agency, Organization, or Business #2
      Boston, Suffolk
      Massachusetts
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Pro Se I (Rev. 09/16) Complaint for a Civil Case


Il.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                  ~Federal question                                D Diversity of citizenship
          Fill out the paragraphs in this section that apply to this case.

          A.         H the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.




          B.
                          11iu IX
                     If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name)    ~~          Id. UfANK}      FAk(           , is a citizen of the
                                           State of (name)     M t\c;SACUv ~

                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                               , is incorporated
                                           under the laws of the State of (name)
                                           and has its principal place of business in the State of (name)



                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual
                                           The defendant, (name)      5£'1, Atb1cltv: cL_                      , is a citizen of
                                           the State of (name)                                               Or is a citizen of
                                            (foreign nation)


                                                                                                                           Page 3 of 5
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                                                                                      Citizenry 1


 Citizenry Attachment

 United Stated District Court for the District of Massachusetts

 Civil Title IX Complaint

 Plaintiff: Francis Henry (Hank) Fay

                                       Citizenry of Defendants

· Defendant No. 1
        The defendant, Elaine Buckholtz is a citizen of the State of Massachusetts.

 Defendant No.2
       The defendant, Courtney Wilson is a citizen of the State of Massachusetts.

 Defendant No.3
       The defendant, Maureen Keefe is a citizen of the State of Massachusetts.

 Defendant No.4
       The Massachusetts College of Art and Design is a public institution in the State of
       Massachusetts

 Defendant No.5
       The defendant, Dana Moser is a citizen of the State of Massachusetts.

 Defendant No. 6
       The defendant, Juan Obando is a citizen of the State of Massachusetts.

 Defendant No. 7
       The defendant, Lyssa Palu-ay is a citizen of the State of Massachusetts.

 Defendant No.8
       The defendant, Daniel Serig is a citizen of the State of Massachusetts.

 Defendant No.9
       The defendant, Nita Sturiale is a citizen of the State of Massachusetts.

 Defendant No. IO
       The defendant, John Doe# 1 is a citizen of the State of Massachusetts.

 Defendant No. 11
       The defendant, John Doe #2 is a citizen of the State of Massachusetts.

 Defendant No. 12
       The defendant, John Doe #3 is a citizen of the State of Massachusetts.
         Case 1:18-cv-11829-FDS Document 1 Filed 08/29/18 Page 9 of 15
                                                                                  Citizenry 2


Defendant No. 13
      The defendant, John Doe #4 is a citizen of the State of Massachusetts.

Defendant No.14
      The defendant, John Doe#5 is a citizen of the State of Massachusetts.

Defendant No.15
      The defendant, John Doe#6 is a citizen of the State of Massachusetts.

Defendant No.16
      The defendant, John Doe#7 is a citizen of the State of Massachusetts.

Defendant No.17
      The defendant, Jane Doe#l is a citizen of the State of Massachusetts.

Defendant No.18
      The defendant, Jane Doe#2 is a citizen of the State of Massachusetts.

Defendant No.19
      The defendant, Jane Doe#3 is a citizen of the State of Massachusetts.

Defendant No.20
      The defendant, Jane Doe#4 is a citizen of the State of Massachusetts.

Defendant No.21
      The defendant, Jane Doe#5 is a citizen of the State of Massachusetts.

Defendant No.22
      The defendant, Jane Doe#6 is a citizen of the State of Massachusetts.

Defendant No.23
      The defendant, Jane Doe#7 is a citizen of the State of Massachusetts.

Defendant No.24
      The defendant, Unknown Agency, Organization, or Business #1 is an institution in the
      State of Massachusetts

Defendant No.25
      The defendant, Unknown Agency, Organization, or Business #2 is an institution in the
      State of Massachusetts
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Pro Se I (Rev. 09/16) Complaint for a Civil Case




                                b.         If the defendant is a corporation
                                           The defendant, (name)                                        , is incorporated under
                                                                     --------------
                                           the laws of the State of (name)                                        ' and has its
                                           principal place of business in the State of (name)
                                           Or is incorporated under the laws of (foreign nation)
                                           and has its principal place of business in (name)
                      .•
                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same i,iformation for each additional defendant.)

                     3.         The Amount in Controversy

                                 The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain):




m.        Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate paragraph; Attach_additional pages if needed.




IV.       Relief

           State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
           arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
           punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
           punitive money damages.




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                                                                     Statement of Claim F.H. Fay 1


Statement of Claim Attachment

United States District Court for the District of Massachusetts

Civil Title IX Complaint

Plaintiff: Francis Henry (Hank) Fay



Complaint # 1) On or about April 1, 2016 Professor Elaine Buckholtz retaliated against me for

complaining about a sexual innuendo uttered by her against me on our class message board.

Buckholtz retaliated against me by calling me at home and using an abusive tone of voice

(shouting) and insulting me, making the quid pro quo demand that if I did not retract the post

criticizing her ribald joke that she would require we have 'a mediation," by falsely claiming that

I physically intimidated her, and by banning me from her classes.



Complaint #2) On or about Aril 5, 2016 Studio for Interrelated Media's (a department and degree

program at Massart known as SIM) Chairperson Professor Nita Sturiale, retaliated against me for

complaining about Associate Professor Buckholtz' sexual innuendo and refusing to remove the

post by banning me from taking her or Buckholtz' classes.



Complaint #3) On or about April 7, 2016 Professor Buckholtz retaliates against me by writing

Dean of Civil Rights Mercedes Sherrod-Evans a letter called me misguided, over-sensitive, toxic

and a liar.



Complaint #4) On or about April 11, 2016 Dean of Civil Rights Mercedes Sherrod-Evans

retaliates against me by stating that she is "miffed" at me for criticizing handicapped access at
         Case 1:18-cv-11829-FDS Document 1 Filed 08/29/18 Page 12 of 15
                                                                      Statement of Claim F.H. Fay 2


Massart, that the school is obligated to believe the word of a professor over any student's word,

and that I could be expelled if I "push it."



Complaint #5) On or about April 14, 2016 Vice-President Dan Serig retaliates against me by

refusing to investigate, mediate, or allow me to record our policy discussion meetings.



Complaint #6) On or about April 14, 2016 Sturiale retaliates against me by refusing to ask the

class for witnesses.



Complaint #7) On or about April 26, 2016 Sturiale, Buckholtz, and Serig retaliate against me by

denying me access to Board Reviews.



Complaint #8) On or about May 13, 2016 Dean of Students Jamie Glanton Costello retaliates

against me by refusing to allow me to record our meetings to discuss policy.



Complaint #9) On, about, and/or after April 25, 2016 Title IX coordinator Courtney Wilson

retaliates against me agreeing by refusing to allow me to record our meetings.



Complaint #10) Approximately May 19, 2016 Academic Resource Center. Elizabeth Smith-

Freedman retaliates against me by declining to communicate my disability to my professors.



Complaint #11) January 17, 2018 Provost Lyssa Palu-ay banned me from the Studio for

Interrelated Media office as retaliation for filing a Title IX complaint.
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                                                                  Statement of Claim F .H. Fay 3




Complaint #12) January 9, 2018 Vice President of Student Development, Maureen Keefe

retaliated against me for filing Tile IX by demanding unreasonably that I appear at a meeting

before I could return to class.



Complaint #13) On or about May 6, 2016 Professor Dana Moser retaliates against me for filing

Title IX by removing my post about Professor Buckholtz from the class website.



Complaint #14) Sometime before August 23, 2017 Professor Juan Obando retaliated against me

by testifying for investigators that the he and other faculty members "stepped back" from me.
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Pro Se I (Rev. 09/16) Complaint for a Civil Case




V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.

                     Date of signing:


                     Signature of Plaintiff
                     Printed Name of Plaintiff


          B.         For Attorneys

                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




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                                                            Prayer for Relief and Demand for Jury 1


Prayer for Relief and Demand for Jury Attachment

United States District Court for the District of Massachusetts

Civil Title IX Complaint

Plaintiff: Francis Henry (Hank) Fay



          This Prayer for Relief is seeking General damages, Consequential damages, and Punitive

damages greater than $75,000.00 according to proof.



          According to Federal Rules of Civil Procedure, I respectfully demand trial by jury in this

action.
